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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
______________________________________
                                       )
U.S. SECURITIES AND EXCHANGE           )
COMMISSION,                            )
                                       ) Civil Action No. 18-CV-5587
                   Plaintiff,          )
           v.                          )
                                       ) Hon. Judge John Z. Lee
EQUITYBUILD, INC., EQUITYBUILD         )
FINANCE, LLC, JEROME H. COHEN,         ) Magistrate Judge Young B. Kim
and SHAUN D. COHEN,                    )
                                       )
                  Defendants,          )
                                 _____)


     RESPONSE TO SEC’S MOTION AND BRIEF IN SUPPORT OF MOTION FOR
DISGORGEMENT, PREJUDGMENT INTEREST, CIVIL PENALTIES, AND ENTRY OF FINAL
              JUDGEMENT AGAINST THE COHEN DEFENDANTS


       Jerome H. Cohen and Shaun D. Cohen (“Defendants”) respectfully file this Response

(“Response”) to the SEC’s Motion and Brief in Support of Motion for Disgorgement,

Prejudgment Interest, Civil Penalties and Entry of Final Judgement Against the Cohen

Defendants. In support of its Response, the Defendants state as follows:



                                      BACKGROUND

       In support of the calculation for disgorgement, the SEC tasked Ann Tushaus with

reviewing certain bank records and financial transactions as defined in doc #195-1. The SEC

presents an argument for the payment of disgorgement and prejudgment interest. Additionally,

the SEC methods of calculating the proposed Civil Penalties.




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        The Defendants do not argue against the application of disgorgement or prejudgment

interest and only call into question the calculation of disgorgement and, therefore, the prejudgment

interest.

        The Defendants raise the following issues with regard to the accounting as it pertains to

disgorgement. First, after review of Exhibit’s contained within said document it is believed that

certain transactions, yet not limited to these certain transactions, are being added to the calculations

and should not have been added. Second, due to the miscalculation and the lack of supporting

documentation held by the Defendants, the Defendants are unable to determine whether other

items were also incorrectly included. Third, an incorrect calculation of the disgorgement amount

renders the prejudgment interest figure inaccurate.

        The SEC states that the application of the civil penalties is to “achieve the dual goals of

punishing the violator and deterring future violations.” The SEC is seeking the maximum third-

tier penalties. The Defendants raise the following issue with regard to the calculation of the civil

penalty. Seeking a maximum third-tier penalty does not achieve the SEC’s stated interest of

punishment.



                                            ARGUMENT




        I.     CERTAIN TRANSACTIONS SHOULD NOT HAVE BEEN ADDED TO

               THE CALCULATION OF DISGORGEMENT.

        After reviewing the Declaration of Ann Tushaus Regarding the Disgorgement and

Prejudgment Interest Against Jerome and Shaun Cohen, listed below are, but are not limited

to, certain transactions that should not have been included in the calculation. The transactions



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listed below are referenced by the ‘notes’ section from the Exhibits to doc #195-1 and were

purchases made by Jerome H. Cohen or Tikkun Holding for the benefit of Equitybuild or it

affiliates. As calculated, the transactions are being treated as though Jerome H. Cohen or Tikkun

Holdings directly benefited from the expenses when in fact neither party did.

                                 REIMBURSEMENT FO USE OF
                                         JC CARD

                                 REIMBURSE JC CREDIT CARD
                                         USAGE

                                   REIMBURSE HOME DEPOT
                                           LOAN

                                 REIMBURSE PHONE AND ADS
                                     PAID FOR EB BY TH

                                  REIMBURSE RING CENTRAL

                                  REIMBURSE EXPENSES PUT
                                       ON THE CARD

                                     REIMBURSE DAWGS
                                    PAYMENT ON THE CARD

                                   REIMBURSE DAWGS LIVE
                                    CAREER AND FOTILIO

                                     REIMBURSE GODADDY

                                     REIMBURSE WEB SITE
                                       REGISTRATIONS

                                      REIMBURSE TRAVEL

                                 REIMBURSE TEXT CAMPAIGN

                                    CHECK # 2346 MEMO:
                                  REIMBURSEMENT + BRUCE
                                   COHEN PAYPAL DEPOSIT

                                  EXPENSE REIMBURSEMENT

                                     REIMBURSE NEWKIRK
                                       INCORRECT DEP




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       II.     DEFENDANTS ARE UNABLE TO DETERMINE WHETHER OTHER

               ITEMS WERE INCORRECTLY INCLUDED.

       The Defendants, no longer having access to Equitybuild or its affiliates related

documentation, do not have the ability to determine whether any other items were incorrectly

added. The Defendants respectfully request that the SEC produce supporting documentation as to

how it defines a line item as being appropriately calculated toward the disgorgement figure as other

items may also not have been correctly added to the final figure.



       III.    THE PREJUDGMENT INTEREST CALCULATION IS NOT CORRECT

               DUE TO THE DISGORGEMENT FIGURE NOT BEING CORRECT.


       As prejudgment interest is calculated as a percentage of the disgorgement amount, being

as though the disgorgement amount is being called into question, the absolute dollar figure for

prejudgment interest is also being called into question.




       IV.     A MAXIMUM THIRD-TIER PENALTY DOES NOT ACHIEVE THE

               SEC’S STATED INTEREST OF PUNISHMENT NOR DOES IT CHANGE

               THE IMPACT AS A DETERRENT.


       The Defendants contend that according to any system of punishment, for the punishment

to be an actual punishment, the punishment itself should be able to be meted out. After the near

two years of investigating this case the SEC should well know the financial condition of the

Defendants. It is unreasonable for the SEC to expect the Defendants to be able to pay a maximum

third-tier penalty plus disgorgement and prejudgment interest anytime in the near future. Due to



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the financial condition of the Defendants, a larger or smaller civil penalty does not impact the

effectiveness of a civil penalty as a deterrent. The disgorgement and prejudgment interest alone

more than enough as a suitable deterrent in this particular case. The Defendants respectfully ask

that the court consider the prospects of the punishment being able to be paid in a reasonable amount

of time as a means to determine the effectiveness of the punishment being considered to in fact be

a punishment. In light of this argument the Defendants ask that the court assess the least amount

of a penalty by which a civil penalty can be calculated.



                                         CONCLUSION

       The Defendants have submitted concerns with respect to the calculation of disgorgement,

prejudgment penalties and the appropriate civil penalties. With respect to the calculation of

disgorgement and prejudgment interest the Defendants respectfully ask the court to have the SEC

provide the supporting documentation requested above in section II. With respect to the

calculation of the civil penalties to be assessed the Defendants respectfully ask that the court

weight the argument made above in section IV.




March 15th, 2019
                                              Respectfully submitted,

                                              DEFENDANTS JEROME H. COHEN AND
                                              SHAUN D. COHEN

                                              By:
                                                      Shaun D. Cohen


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                                             By:
                                                     Jerome H. Cohen


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                                CERTIFICATE OF SERVICE


I hereby certify that on March 15th, 2018, a copy of the foregoing RESPONSE TO SEC’S
MOTION AND BRIEF IN SUPPORT OF MOTION FOR DISGORGEMENT, PREJUDGMENT
INTEREST, CIVIL PENALTIES, AND ENTRY OF FINAL JUDGEMENT AGAINST THE
COHEN DEFENDANTS was served by filing with the Clerk of the Court using the CM/ECF
system which will send notification of such filing to counsel of record.




                                                                 Shaun D. Cohen




                                                                 Jerome H. Cohen




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